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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                     )
                                                  )
                 Plaintiffs,                      )
                                                  )
vs.                                               )
                                                        No. 1:17-cv-00365-LY
                                                  )
GRANDE COMMUNICATIONS                             )
NETWORKS LLC,                                     )
                                                  )
                 Defendant.
                                                  )


 DEFENDANT’S RESPONSE TO PLAINTIFFS’ OPPOSED MOTION FOR LEAVE TO
   FILE COMBINED RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY
        JUDGMENT AND CROSS-MOTION FOR SUMMARY JUDGMENT
          IN A SINGLE PLEADING THAT EXCEEDS TWENTY PAGES

         Plaintiffs seek leave to file a 30-page brief that combines Plaintiffs’ response to

Defendant Grande Communications Networks LLC’s (“Grande”) Motion for Summary

Judgment (ECF No. 140) with a cross-motion for summary judgment. Grande has consented to

up to five additional pages for Plaintiffs’ response, but opposes any extension of the page limit

for Plaintiffs’ cross-motion on grounds that a second summary judgment motion by Plaintiffs is

improper. See, e.g., Watson v. Uniroyal Goodrich Tire Co., No. 1:06-cv-00252-SS, 2007 WL

4794106, at *1 (W.D. Tex. June 27, 2007) (denying or deferring multiple motions for summary

judgment filed “with apparently a liberal interpretation of the local rules of this district”). On

this basis, Grande will be moving to strike Plaintiffs’ combined brief to the extent it constitutes a

second motion for summary judgment. Grande has no further objection to the relief requested by

Plaintiffs.




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Dated: September 11, 2018


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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on September 11, 2018, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via

the Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                   /s/ Richard L. Brophy
                                                   Richard L. Brophy




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